        Case 4:22-cv-03646 Document 7 Filed on 12/22/22 in TXSD Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS

 TEKESHA DRIVER,                                    §
                                                    §
      Plaintiff,
                                                    §
                                                    §
 v.                                                            CASE NO. 4:22-cv-03646
                                                    §
                                                    §
                                                    §
 CASCADE CAPITAL LLC,
                                                    §
      Defendant.                                    §




             NOTICE OF WRONG ADDRESS PROVIDED BY PLAINTIFF


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW, Defendant CASCADE CAPITAL, LLC (“Cascade”) and files its

Notice of Wrong Address Provided by Plaintiff as follows.

        1.         On or about December 20, 2022, Cascade’s counsel received the Notice

of Removal it mailed to Plaintiff to effectuate service as “undeliverable.” Doc. 1.

        2.         After looking into the issue, Cascade’s counsel found the issue—Plaintiff

misspelled her address in the signature block of her state-court Petition. Doc. 1-1 at

7.

        3.         The address Plaintiff provided in her signature block is as follows:

                   15255 Grayride Dr. #725
                   Houston, TX 77082

        4.         Plaintiff’s actual address is as follows:

                   15255 Gray Ridge Dr. #725
                   Houston, TX 77082
     Case 4:22-cv-03646 Document 7 Filed on 12/22/22 in TXSD Page 2 of 3




      3.     All documents that Cascade has sent by mail to Plaintiff for service were

sent using the incorrect address Plaintiff provided.

      4.     Cascade’s Notice of Removal is currently the only document that has

been returned as “undeliverable.” Id.

      5.     Every document filed in this matter has also been emailed to Plaintiff

using the email that Plaintiff provided on Complaint. Doc. 1-1 at 7. Counsel for

Cascade has never received a notification that any email has not been received.

      7.     In an abundance of caution, Cascade sent all documents filed in this

matter to Plaintiff again on December 22, 2022 using the correct address. Exhibit A.

Cascade also emailed Plaintiff the same using the email address she provided in her

Complaint. Doc. 1-1 at 7; Exhibit B.



Dated: December 22, 2022.                Respectfully submitted,

                                         FROST ECHOLS LLC

                                         /s/ Cooper Walker
                                         COOPER M. WALKER
                                         Mailing Address:
                                         P.O. Box 12645
                                         Rock Hill, SC 29731
                                         Physical Address:
                                         2100 Alamo Rd., Unit T
                                         Richardson, TX 75080
                                         Phone: (972) 754-2069
                                         Email: Cooper.Walker@frostechols.com

                                         COUNSEL FOR CASCADE CAPITAL,
                                         LLC.
     Case 4:22-cv-03646 Document 7 Filed on 12/22/22 in TXSD Page 3 of 3




                          CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the foregoing document has

been forwarded via Email and CMRRR to all parties entitled to notice of the same

on this 22nd day of December, 2022.

Tekesha Driver
15255 Gray Ridge, # 725
Houston, TX 77082

                                          /s/ Cooper Walker
                                          COOPER M. WALKER
